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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                             BUTTE DIVISION

 UNITED STATES OF AMERICA,                             CR 20–10–BU–DLC

                      Plaintiff,

 vs.                                                         ORDER

 OSCAR NOE CELIO LUNA,

                       Defendant.

       United States Magistrate Judge Kathleen L. DeSoto entered Findings and

Recommendations in this matter on September 3, 2020. (Doc. 31.) Neither party

objects, and so the Court will review for clear error. United States v. Reyna-Tapia,

328 F.3d 1114, 1121 (9th Cir. 2003); Thomas v. Arn, 474 U.S. 140, 149 (1985).

Clear error exists if the Court is left with a “definite and firm conviction that a

mistake has been committed.” United States v. Syrax, 235 F.3d 422, 427 (9th Cir.

2000) (citations omitted).

       Judge DeSoto recommended this Court accept Oscar Noe Celio Luna’s

guilty plea after Celio Luna appeared before her pursuant to Federal Rule of

Criminal Procedure 11, and entered a plea of guilty to one count of conspiracy to

possess with the intent to distribute methamphetamine, in violation of 21 U.S.C.

§ 846, and one count of conspiracy to commit money laundering, in violation of 18

U.S.C. § 1956(h), as set forth in the Superseding Indictment.
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      The Court finds no clear error in Judge DeSoto’s Findings and

Recommendation, and adopts them in full, including the recommendation to defer

acceptance of the Plea Agreement until sentencing when the Court will have

reviewed the Plea Agreement and Presentence Investigation Report. Accordingly,

      IT IS ORDERED that the Findings and Recommendations (Doc. 31) is

ADOPTED in full. Oscar Noe Celio Luna’s motion to change plea (Doc. 23) is

GRANTED and Celio Luna is adjudged guilty as charged in Count I of the

Indictment.

      DATED this 10th day of September, 2020.
